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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                4:08CR3148-3
                                       )
            V.                         )
                                       )
LEONARD LAUTENSCHLAGER                 )                   ORDER
III,                                   )
                                       )
                  Defendant.

       IT IS ORDERED that the defendant’s evidentiary hearing and sentencing are
rescheduled to Thursday, February 11, 2010, at 12:30 p.m., before the undersigned
United States district judge, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The defendant
shall be present unless excused by the court.

      DATED this 4th day of January, 2010.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      United States District Judge
